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             EXHIBIT B
     TO JUNE 8, 2020 COMPLAINT
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                   PRIVILEGED AND CONFIDENTIAL

  Arguments finding plagiarism from Marvin Gaye and Edward
Townsend's "Let's Get It On" in Ed Sheeran's "Thinking Out Loud"

 Walter Everett, for Structured Asset Sales, LLC, at the request of
                              counsel

                                     May 2020


Introduction
There are a number of factors that—in their presence—give a work of music such
as a song its stylistic ties to prior art, or that—in their absence—help make each
work novel, unique on its own merits. Different combinations of such factors can
reveal stylistic class membership, and in particularly strong mergings can identify
acts of plagiarism. Sometimes, single factors can be recognized as being identical
in two different works, when other factors are different enough to mark the songs
as stylistically disparate. In judging the dependencies between two or more songs,
one must consider the combinations of factors at play and the degrees of their
similarity or difference, measured against the commonness or rarity of these
factors in the general population (particularly in the population of typical sources,
being pop music produced before 1980).

Such factors include primarily—but are not limited to—chord progression as
related to the home key; melodic pitch structure and surface ornamentation; formal
relationships of verses, choruses, and other sections; tempo and rhythms (at both
structural and ornamental surface levels); and correspondence of lyrics and music.

I have compared Ed Sheeran's "Thinking Out Loud" with Marvin Gaye - Edward
Townsend's prior "Let's Get It On." For purposes of this comparison, I have used
the original lead sheet submitted to the United States Copyright Office in
connection with the musical composition "Let's Get It On" and the commercially
released album recording of "Thinking Out Loud." I understand there are ongoing
legal issues surrounding the scope of copyright protection for a musical
composition for which sheet music was submitted as a "deposit copy" to the
Copyright Office. As I am not an attorney, I do not address the legal issues, but my
analysis reflects the fact that these source materials for "Let's Get It On"—the
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original sheet music and the sound recording—may need to be analyzed separately
in certain circumstances. Therefore Part I, Sections A through E of this report, will
cover relationships between the Gaye - Townsend deposit copy and the Sheeran
recording, and Part II, Sections F through I, will cover relationships between the
Marvin Gaye hit-single recording and Sheeran's recording.

The following analysis shows that Ed Sheeran's "Thinking Out Loud" possesses a
combination of so many unusual and sometimes rare factors in common with
Marvin Gaye - Edward Townsend's prior "Let's Get It On," in both specific type
and degree of dependency, that its borrowing rises to the level of plagiarism. The
most significant aspects of each comparison explained below are given in boldface.
As will be seen, the case is strong considering a visual interpretation of the Gaye -
Townsend deposit copy alone, but the connections between the Gaye and Sheeran
songs become inescapable when considering the respective recordings as
performances of that lead sheet.


Part I
A. Chord Progression
1. Chord progressions may be characterized in two different ways: by their root
names (A, B, C, D, E, F, or G; any of which may be inflected by sharps or flats)
and chord quality (major, minor, diminished or augmented; any of which three-
note triads may be supplemented by ten various qualities of additional sevenths,
ninths, elevenths or thirteenths); thus, there are 924 different chords (7x3x4x11) as
identified by root and quality. Whereas some pairings of chords are far more
common than others, there are theoretically 853,776 different ways in which two
adjacent chords may relate to each other simply by their root and quality, and more
than 728 billion combinations of four chords so related.

2. The second way chords can be associated includes all of the above, but adds to
these connections the functional relationship of each root to the home key. These
relationships are identified by Roman Numeral: the I chord is the major triad
whose root is the first degree of the home key's scale; the i chord is the minor triad
built on that first degree; the iiº chord is the diminished triad built on the second
degree, and so on. It is by understanding the affiliations of chords with their home
key that the listener's musical "ear" determines functional harmonic identity carried
across the transposition of a song from one key to another.




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3. Another core consideration in harmonic identity is determined by which
particular scale degree appears in the bass, the lowest "voice." Some scale degrees
are inherently so strongly determinative, that their appearance in the bass almost
nullifies the value of the collection of pitches appearing above them in determining
harmonic function. As illustration, if a bassist plays what would be recognized as
the fifth scale degree (^5) dropping to the first scale degree (^1), nearly any pitches
may appear above them, so strong are these two harmonic functions when
expressed in the bass. Conversely, if the sixth scale degree (a pitch more weakly
tied to the home key's tonal goals than either ^1 or ^5) appears in the bass, its
harmonic value is more contingent on upper "voices" to determine the identity and
potential usages of that chord.

4. For our purposes, we must recognize the essential functional identities of the I6
chord and the iii chord as being indistinguishable. Both triads appear over ^3 in the
bass; both also include both ^3 and ^5 in common among upper voices. The only
difference in their identity is the inclusion of ^1 (= ^8) in the I6 chord, as opposed
to ^7 in the iii chord. Particularly among texturally less significant inner voices,
these two pitches just a half step apart (^8 and ^7) sound interchangeable,
registering only differences of color between them. (^8 and ^1 are exactly the same
scale degree, given that the scale replicates in octaves. We will refer to ^1 as ^8
when recognized in connection to its neighbor, ^7) Often, any difference between
the two chords I6 and iii is unrecognizable, especially if ^3 is present in both outer
voices, the lead vocal as well as the bass. Take for instance, the song "The Weight"
as performed by The Band. In the verse, the chords progress I - I6 (the second
chord appearing with the word "Nazareth"), but the listener can easily convince
themselves that what might be a I6 chord is actually iii (the root of which, ^3, is
present not only in the bass but also in the lead vocal). Due to natural acoustics,
which create a faint ^7 above a bass ^3 even when it is not performed, this listener
is likely not sure whether ^8 or ^7, or both, are present among inner voices.
Instead, the listener concentrates on the structural outer voices, both of which
move from ^1 to ^3 at "Nazareth," when I moves to I6 (or to iii?). As a related
example, in the Commodores' "Easy," the bass moves from ^1 to ^3 as the lead
vocal retains ^3 in moving from I to the song's second chord, giving the resulting
I6 a strong equivalence with a listener's posited iii.

5. Another perspective will add weight to what might be for some an anti-intuitive
argument, that the minor iii chord could be equivalent to a major I6 triad. This


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relates to the interchangeability of the two triads, based largely on the fact that
scale degrees ^3 and ^5 are common to both. In Creedence Clearwater Revival's
"Who'll Stop the Rain," for instance, the second phrase of the opening verse, at
0:19 (at the words "clouds of mystery pourin'"), the vocal ^3 - ^5 - ^5- ^5 - ^5 -
^3 is accompanied entirely by the I chord. At the corresponding point of the
second and third verses, however (at "caught up in the fable" and then at "crowd
had rushed to-gether"), the iii chord substitutes for I (because an inner-voice
acoustic guitar moves from ^8 to ^7). Thus, iii is here equivalent to the I which it
replaces (because of ^5 and ^3, common between them, emphasized in the vocal,
and because the tiny difference between ^8 and ^7 is buried in an inner voice), but
iii is even closer to I6 than to I.

6. There are a very large number of chord progressions in popular music that
consist of four chords, but for practical purposes far fewer than the billions posited
above. In order of decreasing frequency of appearance, based on a study of more
than 6,000 tonal songs of the 1950s through the 1970s, the most common major-
key progressions opening with I are:

      a. I - vi - IV - V (or its bass-line equivalent, I - vi - ii6 - V)
      b. I - vi - ii - V (or its bass-line equivalents, I - vi - II - V, or I - IV6 - ii - V)
      c. I - ii - V - I (or its bass-line equivalent, I - II - V - I)
      d. I - IV - V - I (or its bass-line equivalent, I ii6 - V - I)
      e. I - iii - IV - I (or its bass-line equivalent, I - I6 - IV - I)
      f. I - iii - IV - V (or its bass-line equivalent, I - I6 - IV - V)
      g. I - II - IV - I
      h. I - IV - V - IV
      i. I - vi - IV - I

We will use the term "progression class" to denote groupings of progressions that
share the same function. Thus, the "I - iii - IV - V progression class" will also
include its equivalents such as I - I6 - IV - V. (Another member of this class might
be the common I - bIII - IV - V, but this chromatic form will not be discussed
here.)

7. Many other commonly heard four-chord progressions (such as VI - II - V - I or
vi - IV - I - V) open with non-I functions; perhaps most ubiquitous are those
satirized by the Axis of Awesome in "Four Chords." Among the progression


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classes beginning with I listed above, however, the progression class shared
between our exhibits by Marvin Gaye - Edward Townsend and Ed Sheeran, I
- iii - IV - V, is uncommon, with far fewer examples than any of those
progressions listed above it. Looking at the lead sheet "deposit copy" of "Let's
Get It On," one finds the chord indication "Gm" 34 times. This is the iii chord,
spelled G - Bb - D from the bass up in the key of Eb major. Conversely, the
"Eb/G" chord, the I6 chord (spelled G - Bb - Eb from the bass up) is not indicated
anywhere, and yet the bass line called for by the chord indications above the staff
is identical in all cases and as shown in Example 1, the singer is to sing emphatic
Ebs (circled) rather than D, rendering the "gm" chord (arrow) in actuality a I6
chord, Eb6.


EXAMPLE 1:




In fact, D is a seldom-used pitch in the Gaye - Townsend composition; of the 470
vocal pitches notated in the "deposit copy," there are only eight vocal Ds. In
fourteen of the 34 "Gm" chords, there is an Eb present instead of a D, rendering
them all true I6 (Eb/G) chords from any perspective. Thus, it is clear from the
Gaye - Townsend written notation that the "iii" chord, Gm, can be performed
interchangeably with the "I6" chord, Eb/G, as long as ^3 is played in the bass.
Therefore, Sheeran's band (which performs I6 chords more often than iii
chords) performs identical chord progressions to those notated in the Gaye -
Townsend deposit copy.

This factor alone does not mark the songs as an example of plagiarism, but is a
strong basis for showing them to be based on the same musical structure. One must
examine the progression's melodic voicing, its formal role, and its setting in terms


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of rhythm and tempo, among other factors that the two songs share or do not share
with each other and with the general population of song sources.


B. Melodic Voicing: Structure and Surface Ornamentation
1. Voicing is primarily determined by which chord tones are present in the outer
voices, and to a lesser degree in the inner voices. In pop music, the outer voices are
articulated by the singer (upper voice) and the bass player (lowest "voice"). Chord
tones are identified as root, third or fifth (the constituents of each triad); and
possible additions of non-triadic seventh, ninth, eleventh, or thirteenth, and their
relationships to the three triad constituents.

2. As suggested in paragraphs A4 and A5 above, triads may be performed with a
large number of different possible upper-voice melodic components: The I chord
may support vocal scale degrees ^1, ^3, or ^5 as its root, third or fifth. The ii chord
may support ^2, ^4 or ^6 in the same way; and iii, ^3, ^5 or ^7. These triadic tones
may appear in any combination, repeated or not, and may be ornamented by non-
chord tones. For instance, the root of the I chord, ^1, may participate in a singer's
upper-voice melodic line that moves ^3 - ^2 - ^1 over the I chord, the vocal part
thereby passing from the triad's third (^3) to its root (^1) through a non-chord tone
(^2). Similarly, the iii chord may support an upper-voice line that features a
neighboring motion ornamenting the triad's third: ^5 - ^6 - ^5. There are an infinite
number of ways a single triad may support its upper voice, some arrangements
more stable with an emphasis on chord tones, and some more active by their
emphasis on non-chord tones.

3. In comparing the melodic vocal pitches for the first two phrases of each of our
(a) Marvin Gaye - Edward Townsend and (b) Ed Sheeran exhibits, shown below,
note that each example is based on the same repeated chord progression,
supporting variations in the vocal parts. For each song, chords are indicated with
bold roman numerals, and melodic pitches with regular arabic numerals. Vertical
bar lines locate the accented beginnings of measures, each of which contains four
beats; semicolons divide the phrases. Although the verse of each song is built upon
four hearings of the same progression, the first two phrases (essentially repeated,
with ornamental variation, for phrases three and four) are sufficient for comparison
purposes.

         a. Marvin Gaye - Edward Townsend, "Let's Get It On," first two phrases of
verse:


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      I - iii 3 | -4-5-4-b3-2 | IV b3-2-1- | V 1- | 1-2; I - iii b3-2- | b3-2 - | IV 1-6 | V b3- | -2-
1.


      b. Ed Sheeran, "Thinking Out Loud," first two phrases of verse:

      I - I6 3 | -4-5-4-3-2-1- | IV 2-3-6-1 | V; | I - I6 3- | 4-5-4-3-2-1- 1 | IV - | V

For clarity, the above relationships are shown in the following excerpt, Example 2,
taken from the deposit copy of "Let's Get It On," notated with scale-degree
numbers placed above the staff and tablature:


EXAMPLE 2:




4. Holding aside rhythmic similarities for the moment, the two melodies exhibit
many identical elements with pitch alone, all accented in relation to their
ornamental differences:

      a. Both melodies begin on chord tone ^3, ascend stepwise through non-
            chord tone ^4, and reach up to chord tone ^5 before falling
            stepwise. The onsets of both vocal melodies are delayed until the
            second chord, iii (Gm), appears. In both cases, ^5 appears
            midway through the first full measure of the phrase.

      b. Both melodies descend stepwise from ^5 to ^1: The Gaye - Townsend
            composition directs the performer to luxuriate in the descent,



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             ornamenting ^3 with a ^b3 blues inflection (which appears as a
             dissonant seventh over the IV chord); Sheeran descends more quickly
             to ^1 before IV appears, but then moves to ^3 as the dissonant seventh
             over the IV chord.

      c. In the second phrase's recurring IV chord (Ab), Gaye - Townsend
             moves from ^2 to chord tones ^1 - ^6. In his first phrase's IV
             chord, Sheeran accents non-chord tone ^2, then moves to chord
             tones ^6 - ^1.

      d. Perhaps most tellingly, both melodies end with an ornamented ^1 in
            the vocal despite the fact that all phrases end on V (which is
            normally most characteristic in withholding ^1), making for the
            same tension-filled, non-resolving non-chord tones in the phrases'
            climaxes.


5. Regarding the differences noted in paragraph 4b just above, one might argue that
in general, melodies may be marked if they feature chromatic adjustments to
pitches: ^b3, for instance, or ^#4 or ^b7. In our exhibits, clearly shown in the
deposit copy, Gaye - Townsend often ornaments ^3 by directing one to sing ^b3
instead, as when the composition directs the performer to luxuriate on the initial
descent, ornamenting ^b3 with lower neighbor ^2. Sheeran, on the other hand,
never performs ^b3. The difference is a stylistic one, and not related to the song's
fundamental pitch structure. When Pat Boone would perform Little Richard's
songs, his covers became "whitebread" performances by omitting Richard's blues-
based flatted tones. In the same way, Sheeran is making an autotuned pop cover
out of Gaye - Townsend's R&B model, rather than recomposing it. For their part,
Gaye and Townsend rarely have flatted tones in verses appearing after the first. In
fact, the last statements of the Gaye - Townsend verse phrases appearing just
before the fade, shown below in Example 3, contain no flatted notes but still
conform to the ^3-rising to-^5, then falling to-^1 structure, anticipating Sheeran's
performance:


EXAMPLE 3:




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6. The Gaye - Townsend composition frequently ornaments ^5 in an upper voice
with its non-chord tone upper neighbor ^6, as in this excerpt, Example 4:


EXAMPLE 4:




In each of these 6-5 combinations, ^6 (C) is a neighbor to ^5 (Bb), because ^5 is
the chord tone (a member of both Eb and Bb7 chords), whereas C comes from
outside the chord. Sheeran frequently ornaments ^5 with its non-chord tone upper
neighbor ^6 in an obtrusive guitar part, as at 0:13 - 0:14, where this ornament


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expresses the upper voice by virtue of the vocal rest. Thus, both songs use the
same pitch relationship in the same voice for the same ornamental function
relating the same scale degree to the same non-chord tone.

7. The Gaye - Townsend composition's upper-voice emphasis on ^5 and ^3 shown
throughout the deposit copy is unusual when supported by the iii chord, which is
more characteristic with ^7 in the upper voice. This ^7 is more typically part of a
descending line, such as ^8 - ^7 - ^6 - ^5, each pitch sustaining (with possible
ornamentation) over one chord within the I - iii - IV - V progression. Examples of
this combined upper voice and chord progression are ubiquitous and appear in all
of the following, each released before "Let's Get It On":

      a. Pat Boone, "Gee, But It's Lonely"
      b. Larry Hall, "Sandy"
      c. Cathy Jean & the Playmates, "Please Love Me Forever"
      d. Jay & the Americans, "Cara Mia"
      e. Dickey Lee, "Patches"
      f. The New Christy Minstrels, "Green, Green"
      g. Peter, Paul & Mary, "Puff (The Magic Dragon)"
      h. Jimmy Clanton, "Venus in Blue Jeans"
      i. Gerry & the Pacemakers, "Ferry Across the Mersey"
      j. Diane Renay, "Navy Blue"
      k. Ed Ames, "My Cup Runneth Over"
      l. Donovan, "Hurdy Gurdy Man"

Closely related is the upper-voice ^8 - ^7 - ^6 - ^7, as heard in the introduction to
the Seekers' "Georgy Girl." We also sometimes hear ^8 - ^7 - ^8 - ^7, as in Tony
Orlando's "Bless You." Because neither the Gaye - Townsend composition nor
Sheeran in his performance are interested in the upper-voice ^7, the melodies
in the Gaye - Townsend deposit copy and the Sheeran recording are marked
as deviant from the most common vocalization against iii in this specific
progression, further supporting the connection of class members I - iii - IV - V
and I - I6 - IV - V in these exhibits.


C. Formal Relationships



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1. Songs with verse-chorus structure alternate verses featuring different sets of
lyrics against choruses, which essentially repeat their lyrics. Many songs include
other sections such as bridges, introductions, refrains, pre-choruses, instrumental
breaks, codas and fade-outs, plus smaller-scale variations that add, subtract, extend
or curtail phrases within any of these parts. Additionally, sections such as verses
themselves may constitute couplets, twelve-bar forms, bar forms, SRDC forms, or
other patterns.

2. Both Gaye - Townsend and Sheeran present us with verse-chorus examples that
include contrasting sections (referred to here as bridges) as well. In both songs,
verses are composed of couplets formed of a repeated line. One line of each
couplet is shown in paragraph B3 above; in both songs, the repeated line itself
contains a repeated progression (in the Gaye - Townsend model, the repeated
progression is Eb - Gm - Ab - Bb7). Each verse, then, in both songs, contains one
progression heard four times, supporting a longer line performed twice. In both
songs, the chorus (bars 17-32 in Gaye - Townsend, shown below in Example 5,
and 1:20-1:50 in Sheeran) is also in the identical pattern, lines heard over four
performances of the I - iii - IV - V progression class (four times through the
progression, Eb - Gm - Ab - Bb7, numbered parenthetically in Ex. 5); in Sheeran, a
short double-time two-bar suffix extends the last repetition.

EXAMPLE 5




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Thus, both songs share the same formal structure at sub-phrase (4-bar
progression), phrase (8 bars, repetition of progression), section (16 bars of two
phrases), and multi-section levels (verse, chorus, bridge), and in each case,
identical harmonic materials fill the structures.


3. In relation to other parts of songs, the I - iii - IV - V progression class may
appear as part of any number of functions within the formal structure:

      The I - iii - IV - V progression . . .

      a. . . . may be repeated once to constitute the entire verse, to then be
               followed by a bridge, as in Peter & Gordon's "I Go to Pieces."

      b. . . . may be heard four times, constituting the entire verse, to be followed
               by a bridge, as in the Stone Poneys' "Different Drum."

      c. . . . may be repeated to open the verse, then lead to a single concluding
               phrase for a bar form, as in the Beach Boys' "I Can Hear Music."

      d. . . . may be repeated to open the verse, and then move to a contrasting
               two-phrase refrain, as in the Turtles' "You Baby," the Seekers'
               "Georgy Girl," or Donovan's "Hurdy Gurdy Man"

      e. . . . may open both the antecedent and consequent phrases of a period,
               each time followed by a contrasting passage that leads to cadence, as
               in Peter, Paul & Mary's "Puff (The Magic Dragon)" or the Toys' "A
               Lover's Concerto."




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      f. . . . may be repeated within both the antecedent and consequent of a period
               (without contrasting passages), as in Bob Dylan's "Sad-Eyed Lady of
               the Lowlands."

      g. . . . may function as a varied repetition, such as when I - iii - IV - I is
               followed by I - iii - IV - V, as in the Cyrkle's "Red Rubber Ball."

      h. . . . may appear as a contrasting idea, such as in the D-gesture of an SRDC
               structure, as in Dickey Lee's "Patches" and "Laurie (Strange Things
               Happen)."

      i. . . . may appear as the basic idea of a sentence structure, as in Oliver's
               "Jean."

      j. . . . may appear as one of four different progressions within a single verse,
               as in Ed Ames' "My Cup Runneth Over."

      k. . . . may be repeated in a one-part, strophic form, as in the Four Seasons'
               "Opus 17 (Don't You Worry 'Bout Me)."

      l. . . . may be withheld until the chorus, as in Jay & the Americans' "Walkin'
               in the Rain."

      m. . . . may be withheld until the bridge, as in the Beatles' "I Feel Fine."

Most four-chord loops (repetitions of the four-chord pattern) do not contain the iii
chord; witness I - VI - II - V, the basis of the ubiquitous "Rhythm" changes, as in
the Beatles' "Rocky Raccoon" (see paragraph A7 above). When the iii (III)
function is repeated multiple times as a continuous loop, it is nearly always given a
bluesy flatting, as in the I - bIII - IV - IVb of the Yardbirds' "For Your Love" or
the I - bIII - IV - bVI of the Monkees' "(I'm Not Your) Steppin' Stone." See also,
for instance, the I - IV - V - IV loops of the Kingsmen's "Louie Louie" or the
McCoys' "Hang on Sloopy." It is very unusual to repeat the I - iii - IV - V
progression as a loop without contrast, and beyond rare to do so throughout
the entirety of both verses and choruses; the Commodores' "Easy" is the only
such example known to me other than our Gaye - Townsend and Sheeran
exhibits.




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D. Rhythm including Syncopation

1. Syncopation, which is the accentuation of a beat that occupies a normally weak
metric position (such as the backbeat or offbeat), is also a telltale marker that
unites our Gaye - Townsend and Sheeran exhibits in unusual ways. In songs that
include the I - iii - IV - V progression class, chords typically change every four
beats (a full bar), providing a "harmonic accent" on strong downbeats (the first beat
of every bar). Syncopated chord changes, occurring on weak beats, are much less
common, but these are heard in both Gaye - Townsend and Sheeran exhibits. The
following excerpt, Example 6, numbers every beat below each staff. Beats 1 and 3
are always metrically strong in relation to beats 2 and 4 (the backbeats). Accenting
weak beats by playing on the backbeat creates syncopation. In the deposit copy,
convention would have all chord changes notated on the strong first beat of every
bar, but note that in Example 6, each Gm chord and Bb7 chord occurs early, on the
weak fourth beat of the previous bar. This creates a very characteristic
syncopation. Note that not only are the chord changes syncopated, but so is the
vocal line; see how for nearly all syncopated Gm and Bb7 chords, the voice
articulates a syllable on a weak beat and ties or slurs it across a barline (see "I've,"
"baby," and "so").

EXAMPLE 6:




A search of our sample of 6,000 songs (all top-twenty hits plus hundreds of album
tracks) from 1955 to 1975 reveals only a small handful that contain examples of
syncopated changes within the I - iii - IV - V progression class. All are listed here.

      a. The Seekers' "Georgy Girl" has the following harmonic rhythm:



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            I (on downbeat) - iii (on the weak fourth beat) - IV (on the following
            downbeat) - V (on the weak fourth beat).

      b. The Grass Roots' "Sooner or Later": each chord change appears on the
            anticipatory weak half of a weak fourth beat.

      c. Marvin Gaye's "Let's Get It On": I (on downbeat) - iii (on the weak fourth
            beat) - IV (on the following downbeat) - V (on the weak fourth beat).

      d. Ed Sheeran's "Thinking Out Loud": I (on downbeat) - iii (on the weak
            fourth beat) - IV (on the following downbeat) - V (on the fourth beat).

      e. Two well-known examples of a similarly syncopated four-chord
            progression (accenting first a downbeat, then the anticipatory weak
            half of a weak fourth beat, then this pattern repeated), Wilson Pickett's
            "In the Midnight Hour" and Eddie Floyd's "Knock on Wood," are
            based on a different four-chord progression: the minor-pentatonic
            bVII5 - V5 - IV5 - bIII5 - I5 in the former and I5 - bIII5 - IV5 - V5 -
            bVII5 in the latter. (Steve Cropper is said to have had the idea of
            inverting the former's progression for the latter recording.)

Thus, the Gaye - Townsend and Sheeran exhibits are two of only three songs
in our 6,000-song sample using the I - iii - IV - V chord progression class that
share the same pattern of syncopated chord changes, the third being "Georgy
Girl."


2. Melodies are marked by which vocal pitches are metrically accented in relation
to others, which appear directly with the chord changes (the strongest accent,
especially when aligning with first beats of measures) and which appear in weaker
metric locations. As shown in the examples given in paragraph B3 above, both
Gaye - Townsend's and Sheeran's vocal melodies begin in metrically weak
positions, delaying the singing of the lyrics until the second chord appears.
Also in both cases, ^5 appears midway through the second bar of the phrase.
(This can be seen in Example 6 directly above.)

3. Whereas in most songs, verses maintain the same or similar rhythms one after
the other, both Gaye - Townsend and Sheeran provide a great deal of
extemporaneous rhythmic abandon in verses that appear after the first, especially


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ending phrases in different places (on beat 3, on the second half of beat 3, on beat
2, etc.), thus both the Gaye - Townsend composition and Sheeran expressing
the same degree of rhythmic freedom on the musical surface. Illustrations of
the rhythmic variation can be found in the last syllables of each unique phrase
shown in the examples quoted above:

      Ex. 2: "baby" is articulated on beat 4
             "long" is articulated on beat 2
      Ex. 3: "baby" is articulated on the second half of beat 2
             "sanctified" is articulated on beat 3
      Ex. 5: "Ow" is articulated on beat 2
             "baby" is articulated on beat 2 then on beat 1
             "sugar" is articulated on the second half of beat 4
             "Ooh" is articulated on beat 2


E. Correspondence of Lyrics and Music
1. Both Gaye - Townsend and Sheeran exhibits are expressions of a single theme:
both are romantic songs, in each a man gently asking a woman for physical
lovemaking, and both betraying an inner tension with numerous sorts of struggles.
Gaye - Townsend expresses this as sexual tension: "I've been really tryin', baby,
tryin' to hold back this feelin' for so long," whereas Sheeran displaces the tension:
"when your legs don't work like they used to before." While this is a common
theme, and the lyrics of the two songs do not intersect in particulars, the two
musical settings are identical in ways that support the same theme and their
respective lyrics.

2. The chord loop in each song, because it ends in a tension-filled V chord that
does not resolve to I within the phrase, constantly sets up expectations in Gaye -
Townsend of release that never comes, and only occurs in Sheeran in his two-bar
suffix to the chorus (an extension mentioned in paragraph C2 above). More
singular is the fact that in both songs, phrases that conclude on V never
harmonize the upper-voice ^1 with which each vocal phrase ends, the ^1
never moving to members of the V chord such as ^2 or ^7, but instead being
left unresolved. The perfect illustration in seen in Example 5, bar 24, where "Let's
get it" is sung on a repeated non-resolving ^1 while the V7 chord (Bb7) is
sustained; exactly the same dissonant expression appears at "for so long" in
Example 6.



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4. Most rock and pop singing is syllabic, one pitch sung for each syllable. Gaye
and Townsend often direct the singer to perform melismatically to express a
soulful purgation, the free release of inner tension, with multiple pitches sung per
syllable. Sheeran performs "Thinking Out Loud" the same way. Extended
melismas occur numerous places in the Gaye - Townsend composition, such as in:

       Ex. 1: "try-" sung on six pitches, repeating gb - f (^b3 - ^4) multiple times

       Ex. 3: "On" sung on two long pitches, c - bb (^6 - ^5), then "On" on four
              pitches, bb - c - bb - g (^5 - ^6 - ^5 - ^3)

Gaye - Townsend's most expressive melisma is notated over the tense retransitional
V at the end of the second bridge. As shown in Example 7, below, the syllable
"bush" requires eight pitches, g - ab - g - ab - g - f - g - f (^3 - ^4 - ^3 - ^4 - ^3 - ^2
- ^3 - ^2), two of them extended with syncopations crossing barlines:\
EXAMPLE 7:




In Sheeran, such extended melismas are performed at 1:21, 2:04, 2:48, 3:58, and
4:33, for a similar distribution in number as appearing in Gaye - Townsend.

In summary, comparison of the Gaye - Townsend deposit copy with the
Sheeran recording yields a number of correspondences: both songs share the
same repeated four-chord progression. Both feature melodies based on the
same distinctive structural shape, including similar relations between vocal
tones and underlying chords, and both display the same rhythmic freedom.
Both songs share the same formal structures at all levels, from surface phrases
to largest sections. Both are among the only three known songs to share the
same syncopation of the repeated four-chord pattern. The sharing of all of
these elements strongly evidence copying by Sheeran of Gaye - Townsend.
Part II

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Introduction
In addition to the factors enumerated in Part I, a comparison of Ed Sheeran's
recording with Marvin Gaye's 1973 hit recording shows additional commonalities
not revealed when considering the lead-sheet deposit copy alone.

F. Chord Progression
Expanding upon ¶ A7 in Part I:
As discussed above, the Gaye - Townsend and Sheeran exhibits share a
progression class, I - iii - IV - V, an uncommon one among those progressions
opening with I. Through most of "Let's Get It On," no ^7 can be heard in any inner
voices, rendering its "iii" absolutely identical to I6 (see paragraph A4 above),
meaning that the two songs share identical harmonic progressions. In listening to
Gaye's recording, one can hear that of the 34 "Gm" chords shown in the deposit
copy, fourteen include an Eb instead of D, making them effectively I6 chords
instead of the "Gm" indications of iii chords. In 24 of the 34 chords, there is no D
anywhere in the vocal or accompanimental texture as heard. In fact, D is a seldom-
used pitch in Gaye's performance; of the 451 vocal pitches heard in the recording,
there are only five vocal Ds. In fourteen of these resulting "Gm" chords, there is an
Eb present instead of a D, rendering them true I6 chords from any perspective.
Thus, it is clear from a comparison of the Gaye recording and the the Gaye -
Townsend deposit copy that the "iii" chord, Gm, can be performed
interchangeably with the "I6" chord, Eb/G, as long as ^3 is played in the bass.
Therefore, Sheeran's band performs identical chord progressions to those
heard in the Gaye recording.


G. Melodic Voicing: Structure and Surface Ornamentation

One factor not appearing in the deposit copy but clear in the recordings shows how
Sheeran modeled his performance on Gaye's recording. Among other performance
values, Gaye often sings in falsetto, forcing his voice above the upper extreme of
its high natural range. The first such appearance is with the interjectory syllable,
"whoo!" on a high ^1 at 0:25, contrasting with the following chorus, which begins
in Gaye's lowest register; this falsetto "whoo" reappears throughout the hit
recording. Sheeran, who has the same high range, makes frequent use of falsetto,
often in word trail-offs (as on "oh" at 3:33-34), but sometimes quite up front, as in
the sustained word "same" at 2:54.
H. Formal Relationships


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In both songs, bridges lead to retransitional stop-time solo singing over climactic V
chords that introduce choruses while nearly all of the pitched accompaniment
drops out (2:20-2:22 in Gaye, 0:56-1:19 in Sheeran). The Bb7 chord, the only time
it is sustained for four full bars in the entire song, is the climactic V chord.

I. Tempo and Syncopation
Tempo is a very strong additional mark of distinction that pairs our two exhibits.
Songs with four beats per measure (the same meter as in Gaye and Sheeran) that
include the I - iii - IV - V progression-class range from a slow 72 beats per minute
(as in Connie Francis's "Where the Boys Are") to a fast 160 bpm (as in Bobby
Rydell's "Forget Him"). Both Gaye and Sheeran recordings proceed at the
same, at 80 bpm (± 2 bpm, as they both fluctuate slightly). Not a single other
song in our 6,000-song sample that includes a I - iii - IV - V or I - I6 - IV - V
progression has the same slow tempo.

In regard to §D1 in Part I, all other known such examples of syncopated changes
within the I - iii - IV - V progression class, listed again here, have a tempo much
faster than Gaye's and Sheeran's 80 bpm:

      a. The Seekers' "Georgy Girl": Tempo: 152 bpm.

      b. The Grass Roots' "Sooner or Later": Tempo: 126 bpm.

      c. Marvin Gaye's "Let's Get It On": Tempo: 80 bpm.

      d. Ed Sheeran's "Thinking Out Loud": Tempo: 80 bpm.

      e. Wilson Pickett's "In the Midnight Hour": Tempo: 116 bpm; Eddie Floyd's
            "Knock on Wood": Tempo: 104 bpm.

Thus, the Gaye and Sheeran exhibits are two of only three songs in our 6,000-
song sample using the I - iii - IV - V chord progression class that share the
same pattern of syncopated chord changes, the third being "Georgy Girl," as
well as being the only two such examples with that progression class to move
at the tempo of 80 bpm.


Summary


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To encapsulate the above arguments, focusing on the correspondences between
Gaye - Townsend's "Let's Get It On" and Sheeran's "Thinking Out Loud," first
addressing elements shared with the deposit copy:

• Both songs are based on the same progression class (I - iii - IV - V), indeed
mostly on exactly the same progression, I - I6 - IV - V.

• Both songs use this progression as a loop in both verse and chorus passages.

• Both upper-voice melodies are based on the shape, ^3 - ^4 - ^5 - ^4 - ^3 - ^2 - ^1,
which then moves to scale degrees ^6, ^1 and ^2, with identical accents.

• Both songs emphasize as scale degrees upper-voice ^5 and ^3 over the iii chord,
as opposed to the more usual ^7 over iii.

• Both songs end cadential phrases on a non-resolving upper-voice ^1, even though
this is not a member of the goal V chord. In both cases, the lack of tension
resolution is related to the song's underlying theme.

• Both songs share the same formal structure at sub-phrase, phrase, section, and
multi-section levels.

• Both songs share the same identical syncopated rhythm of chord changes.

• Both songs' vocal melodies begin in the same markedly weak metrical
location, and in both, the vocal goal of ^5 is achieved at the same metrical
position within the phrase.

• Both songs have a similar distribution of vocal melismas, expressing in both a
similar theme.

When one considers the "Let's Get It On" sound recording, additional
commonalities emerge:

• Both songs have the identical tempo of 80 beats per minute (±2 bpm, as
above), uniquely for the chord progression.




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• In both recordings, the repeated chord progression is played in such a way to
make the "iii" chord absolutely identical to the "I6" chord, bringing the two
songs even closer together.

• In both recordings, most instrumentalists drop out for a moment of "stop
time" precisely at the end of the bridge's retransition, enabling the singer to
prolong the climactic V chord with solo singing.

• Sheeran's recording—notably his strategic use of falsetto voice—is clearly
modeled after Gaye's recording.


It has been shown above that the combination of two or three of the above
factors occurs only in these two songs. The fact that all factors are held in
common proves the case.

I have not testified at trial or in deposition in the last four years.

I am being compensated at the rate of $275 per hour for the preparation of this
report and for any testimony at deposition or at trial.




Walter T. Everett

6 May 2020




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Education:
Private study in Schenkerian analysis with John Rothgeb, 1986-1990.

Ph.D. in Music Theory (1988), School of Music, The University of Michigan. Dissertation: "A
       Schenkerian View of Text-Painting in Schubert's Song Cycle Winterreise" (ix/325 pp.).

M.M. in Music Theory (1984), College-Conservatory of Music, The University of Cincinnati.
      Thesis: "The Beatles as Composers" (xi/273 pp.).

B.S. in Music Education; piano concentration (1976), Gettysburg College.


College-Level Teaching Experience:
The University of Michigan School of Music, Theatre & Dance:
      Professor of Music (since 2006).
       Chair, Department of Music Theory (2004-2010).
       Associate Professor of Music (1997-2006).
       Assistant Professor of Music (1989-1997).
       Graduate Student Teaching Assistant (1985, 1980-1982).

Eastern Illinois University:
      Instructor in Music Theory (1987, 1983).

Interlochen Arts Camp:
       Instructor (Summer 1990).
       Guest Lecturer, University Division (Summer 1982).

College-Conservatory of Music, The University of Cincinnati:
       Visiting Lecturer (1981). Course on the music of the Beatles.
       Graduate Student Teaching Assistant (1979-80).




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Courses taught, University of Michigan (most recent date of each offering is given)
MT 111: The Foundations of Rock for non-music majors (Winter 2011).
MT 135: Introduction to Music Theory for Musical Theatre students (Fall 2008).
MT 149: Basic Musicianship: Writing Skills I (Fall 2013).
MT 150: Basic Musicianship: Writing Skills II (Winter 2020).
MT 160: Basic Musicianship: Writing Skills II for accelerated students (Winter 2019).
MT 236: Introduction to Music Analysis for Musical Theatre students (Winter 2008).
MT 249: Basic Musicianship: Writing Skills III (Fall 2016).
MT 250: Basic Musicianship: Writing Skills IV (Winter 2017).
MT 250: Basic Musicianship for Accelerated Students (Fall 2018).
MT 334: Graduate survey course in writing skills (Fall 2019).
MT 405: Interpreting the Music of the Beatles for non-music majors (Winter 2012).
MT 407: Undergraduate independent study (Winter 2016).
MT 430: Advanced Analysis of Tonal Music for undergraduates (Winter 2010).
MT 430/530: Analysis of Twentieth-Century Music (Winter 2002).
MT 435/535: Analysis of Pop-Rock Music for music majors (Fall 2020).
MT 460/560: Music of the Beatles for music majors and grad students (Fall 2019).
MT 461: Advanced Analysis of Tonal Music for graduates (Winter 2009).
MT 506: Graduate Seminar in the Analysis of Tonal Vocal Music (Winter 1997).
MT 531: Introductory Schenkerian Theory and Analysis (Fall 2012).
MT 532: Advanced Schenkerian Theory and Analysis (Winter 2020).
MT 537: Doct. Seminar in Single Works by Bach, Beethoven and Webern (Winter 2016).
MT 551: Doct. Sem. in the Analysis of the Concerto from Mozart to Brahms (Winter 2001).
MT 590: Pedagogy of Music Theory (Winter 2013).
MT 721: Doct. Seminar in Twentieth- and Twenty-First Theories (Winter 2015).
MT 805: Doct. Seminar in the Analysis of Rock Music for theorists (Winter 2011).
" . Doct. Seminar for theorists in the Analysis of Tonal Song (Winter 2003).
" . Doct. Seminar for theorists on Sex and Gender in Popular Music (Fall 2020).
MT 807: Graduate independent study (Fall 2018).
MT 995: Dissertation advising (Fall 2019).
Dissertation advisees: Nathaniel Adam (Lecturer, Yale University), Jacob Arthur (current),
       Deborah Burton (Associate Professor, Boston University).




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Research:
Books as Author:
The Foundations of Rock From "Blue Suede Shoes" to "Suite: Judy Blue Eyes." New York:
      Oxford University Press, 2009. 425 + xvi pages.
       Funded by an NEH Fellowship (2003-2004) and grants from the University of Michigan and the
       Society for Music Theory, this book introduces the general reader to the worlds of timbre, form,
       melodic materials and construction, harmonic function and color, rhythmic and accentual
       patternings, the parsing of lyrics, the role of engineering, and modes of critical contextualization
       and interpretation, through a selection of the seven thousand examples studied from this
       revolutionary body of music. An accompanying website illustrates the book's arguments with 285
       original audio examples and 125 photographs. Reviewed in Journal of Music Theory, Music
       Analysis and Journal of the Society for American Music.
The Beatles as Musicians, The Quarry Men through Rubber Soul. New York: Oxford University
       Press, 2001. 452 + xix pages.
The Beatles as Musicians, Revolver through the Anthology. New York: Oxford University
       Press, 1999. 395 + xix pages.
Spanish translation, Los Beatles como músicos, published by Eterna Cadencia (Buenos Aires,
       Argentina), 2013.
       These books represent a detailed, chronologically ordered study of the Beatles' performance
       practice and composition, from their earliest group efforts in 1957 to the band's demise in 1970.
       Not only published recordings, but many outtakes, rehearsals, compositional sketches, and
       incomplete songs are the basis of this recording-based study. A potential third volume, covering
       the solo music of the ex-Beatles, is envisioned. While written for the professional music
       researcher, this project has gained a wide audience among the general public, with very
       favorable reviews in MOJO, Goldmine, and Beatlefan as well as in MLA Notes, Music Theory
       Spectrum, Music Analysis, The Journal of Musicological Research, and Music Theory Online.
       See also one knowledgeable fan's extensive review at http://www.hammo.com/beathoven.

Books as Co-Author:

What Goes On: The Beatles, Their Music and Their Time, textbook and extensive multimedia materials
      for non-music majors, co-authored with Tim Riley. Oxford University Press, 2019.

Sex and Gender in Rock and Pop from the Beatles to Beyoncé, trade book with multimedia materials for a
       general readership, co-authored with Katie Kapurch. Under contract with Bloomsbury Press, MS
       due in Dec. 2021.

Books as Editor:
Expression in Pop-Rock Music: Critical and Analytical Essays. 2nd Edition, New York: Routledge Press,
       2007. (1st edition, New York: Garland Publishing, 2000). Nominated for the Tenth Annual
       Gleason Award. Reviewed in Music and Letters, Popular Music, and MLA Notes.

American Rock and the Classical Music Tradition, a special issue of Contemporary Music Review (18/4).
       Co-edited with John Covach. London: Harwood Academic Publishers, 2000.

Traditions, Institutions, and American Popular Music, a special issue of Contemporary Music Review
        (19/1). Co-edited with John Covach. London: Harwood Academic Publishers, 2000.




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Book Chapters (most available at academia.edu):

"Lepidopteron cum strabismus: The Hidden Promise of Vanessa, the Erratic Adolescent
       Doodler," for second volume of Song Interpretation in 21st-Century Pop Music, ed. Ralf
       von Appen, André Doehring, Dietrich Helms and Allan F. Moore. MS submitted January
       2019.
"The Beatles' 'Day Tripper': A Tortured Stretching of the Twelve-Bar Blues," The Routledge
      Companion to Music Theory Pedagogy, ed. Leigh vanHandel. Routledge, 2020.
"The Love There That's Sleeping: Guitars of the Early Beatles," The Beatles in Context, edited
      by Ken Womack. Cambridge University Press, 2020.
"Children of Nature: Origins of the Beatles' Tabula Rasa," in The Beatles through a Glass
       Onion: Reconsidering the White Album, ed. Mark Osteen, ed. The University of
       Michigan Press, 2019.
"Death Cab for Cutie's 'I Will Follow You into the Dark' As Exemplar of Conventional Tonal
       Behavior in Recent Rock Music." In Song Interpretation in 21st-Century Pop Music, ed.
       Ralf von Appen, André Doehring, Dietrich Helms and Allan F. Moore. London:
       Ashgate, 2015, pp. 9-28.
"Any Time at All: The Beatles' Free Phrase Rhythms." In The Cambridge Companion to the
      Beatles ed. Kenneth Womack. Cambridge University Press, 2009, pp. 183-99.
"New Drummer Ringo Starr." In Read the Beatles: Classic and New Writings on the Beatles,
      Their Legacy, and Why They Still Matter, ed. June Skinner Sawyer and Astrid Kirchherr.
      Penguin Books, 2006, pp. 292-95.
"Painting Their Room in a Colorful Way: The Beatles' Exploration of Timbre." In Reading the
        Beatles: Cultural Studies, Literary Criticism, and the Fab Four ed. Kenneth Womack
        and Todd Davis. State University of New York Press, 2006, pp. 71-94.
"Detroit and Memphis: The Soul of Revolver." In "Every Sound There Is": The Beatles'
       Revolver and the Transformation of Rock and Roll, ed. Derek Scott and Russ Reising.
       London: Ashgate, 2002, pp. 25-57.
"Confessions from Blueberry Hell, or, Pitch Can Be a Sticky Substance." In Expression in Pop-
      Rock Music: A Collection of Criticial and Analytical Essays, ed. Walter Everett.
      Garland Publishing, 2000, pp. 269-345. Sizeable portion of this essay also published as
      "Sistemi tonali nelle Musiche Pop/Rock: Un'Introduzione," Rivista di Analisi e Teoria
      Musicale 2002/2 (79-114), as translated by Roberto Agostini, Luca Marconi, and Stefano
      Mengozzi. Revised as "Pitch Down the Middle" for Routledge edition of Expression in
      Pop-Rock Music, pp. 111-174.
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      Music Tradition, a special issue of Contemporary Music Review, 18/4, devoted to the
      relations between Concert and Popular Musics. London: Harwood Academic Publishers,
      2000, pp. 105-129. Reprinted in Rock Music, ed. Mark Spicer for The Library of Essays on
      Popular Music. Ashgate, 2011.




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Book Chapters, cont'd:
"Swallowed by a Song: Paul Simon's Crisis of Chromaticism." In Understanding Rock, ed. John
       Covach and Graeme Boone. Oxford University Press, 1997, pp. 113-153.
"'High Time' and Ambiguous Harmonic Function." In Perspectives on the Grateful Dead, ed.
       Rob Weiner, Greenwood Press, 1999, pp. 119-125.
"The Beatles as Composers: The Genesis of Abbey Road, Side Two." In Concert Music, Rock,
      and Jazz Since 1945: Essays and Analytical Studies, ed. Elizabeth West Marvin and
      Richard Hermann, University of Rochester Press, 1995, pp. 172-228.
Also contributed about fifty pop-music examples for Miguel Roig-Francoli's textbook, Harmony
       in Context (McGraw-Hill, 2001).

Juried Journal Articles (most available at academia.edu):
“If You Become Naked: Sexual Honesty in the Beatles' White Album,” co-authored with Katie
       Kapurch, accepted for publication in Rock Music Studies[(in print].
"Becoming Beethoven: Theorizing Bonner Zeit Transitions," Music Theory & Analysis 7/2
      (Spring 2020) [in print].
“The Representation of Meaning in Post-Millennial Rock.” Black Box Pop: Beiträge zur
      Popularmusikforschung 38 (2012): 149-69. Free download available at http://aspm.ni.lo-
      net2.de/info/beitraegealt.html
"'If You're Gonna Have a Hit': Intratextual Mixes and Edits of Pop Recordings." Popular Music
        29/2 (2010): 229-250. Reprinted in Lori Burns, ed., The Pop Palimpsest: Intertextuality
        in Recorded Popular Music (University of Michigan Press, 2017).
"Beyond the Palace: Casing the Promised Land." [A study of the theme of transcendence in the
      songs of Bruce Springsteen] Interdisciplinary Literary Studies 9/1 (Fall 2007): 81-94.
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"Making Sense of Rock's Tonal Systems" Music Theory Online 10/4, December 2004 (15,700
      words).
      http://www.societymusictheory.org/mto/issues/mto.04.10.4/toc.10.4.html
      Reprinted in Critical Essays in Popular Musicology, ed. Allan Moore,
      Ashgate (2007).
"A Royal Scam: The Abstruse and Ironic Bop-Rock Harmony of Steely Dan." Music Theory
      Spectrum 26/2 (Fall 2004): 201-235.
"A True Story: The Expression of Troubling Societal Values in the Music of Postmodern Rock."
      Genre 34 (Fall-Winter 2001): 205-218.
"The Future of Beatles Research." Beatlestudies 3 (2001): 25-44.
"Voice Leading and Harmony as Expressive Devices in the Early Music of the Beatles: 'She
       Loves You'." College Music Symposium 32 (1992): 19-37.


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Juried Journal Articles, cont'd:
"Text-Painting in Mozart's Three Lieder (KV 596-598) of 14 January 1791." Mozart-Jahrbuch
       1991: 201-05.
"Voice Leading, Register and Self-Discipline in Die Zauberflöte." Theory and Practice 16
       (1991): 103-26.
"Grief in Winterreise: A Schenkerian Perspective." Music Analysis 9/2 (July 1990): 157-75.
"Text-Painting in the Foreground and Middleground of Paul McCartney's Beatle Song, 'She's
       Leaving Home': A Musical Study of Psychological Conflict." In Theory Only 9/7
       (March 1987): 5-21.
"Fantastic Remembrance in John Lennon's 'Strawberry Fields Forever' and 'Julia'." The Musical
       Quarterly 72/3 (1986): 360-93. Reprinted in Critical Essays in Popular Musicology, ed.
       Allan Moore, Ashgate (2007).
Review-Article:
"An Update on the Current State of Schenkerian Research: Volumes Edited by Hedi Siegel and
      Allen Cadwallader." Theory and Practice 19 (1994): 121-52.
Reviews, Reports, Dictionary Entries and Popular-press essays:
"An Appreciation of Pepper, Fifty Years On," commissioned for Beatlefan 38/4 (May-June
      2017).
Contributor of the article, “The Beatles,” to The Grove Dictionary of American Music (2013).
       http://www.oxfordmusiconline.com.proxy.lib.umich.edu/subscriber/article/grove/music/
       A2223785?q=Beatles&search=quick&source=omo_gmo&pos=2&_start=1#firsthit
Contributor to “Report on the 2008 Mannes Institute for Advances Studies in Music Theory: Jazz
       Meets Pop,” Music Theory Online 14/3, uploaded September 2008.
       http://mto.societymusictheory.org/issues/mto.08.14.3/toc.14.3.html
"High Art Born of Deep Crisis: 'Strawberry Fields Forever," Beatles Special Edition, ed. Ben
      Nussbaum (i-5 Publishing; 2014).
"What a Rock Concert Should Do: Paul McCartney, Driving USA 2002." Soundscapes 5 (May
      2002) (24 KB).
      http://www.icce.rug.nl/~soundscapes/VOLUME05/Driving_USA.html
Review of Richard Middleton's Reading Pop (Oxford University Press, 2000), Music Theory
        Online 7/6, uploaded December 2001 (32 KB).
http://societymusictheory.org/mto/issues/mto.01.7.6/mto.01.7.6.everett_frames.html
Editorial work:
Editorial board member for University of Michigan Press, Theory and Practice 1990—2001, In Theory Only 1996,
         2006, Music Theory Spectrum 1999—2002, 20th-Century Music 2006, Rock Music Studies 2014—,
         American Music History Series of Penn State University Press.
Pre-publication reader for Oxford University Press, W. W. Norton & Co., Prentice-Hall, McGraw-Hill, Indiana
         University Press, Music Theory Spectrum, Canadian University Music Review, Journal of Musicology,
         Music Analysis, Popular Music, Music and Politics, Music Theory and Analysis, twentieth-century music,
         Music Research Forum.




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Invited presentations:

Keynote address, "The Mellow Depth of Melody in Abbey Road," Come Together: Fifty Years
      of Abbey Road, The University of Rochester (September 2019).
Keynote address, "Children of Nature: Origins of the Beatles' Tabula Rasa," The Beatles' White
      Album: An International Symposium, Monmouth University (November 2018); also
      given at Ann Arbor District Library (April 2019).
"The Blood Rushes In: Sex and Masculinity in 'Candy's Room' and 'Prove It All Night,'" co-
      authored with Katie Kapurch; paper presentation for conference dedicated to Bruce
      Springsteen's Darkness at the Edge of Town, Monmouth University (April 2018).
"Behind the Curtains: Sgt. Pepper's Lonely Hearts Club Band," lecture presented to the Ann
      Arbor District Library (April 2018).
“Command, Surrender and Transferral in Patti Smith’s ‘Land,” lecture presented to Texas State
     University, San Marcos (March 2018).
Abbey Road: The Beatles' Swan Song," lecture presented to the Ann Arbor District Library
      (April 2017), Baldwin Wallace University (March 2019).
Workshops in the Pedagogy of Music Theory: week-long residence leading ten one-hour
      sessions for faculty members from four continents, at the University of Massachusetts—
      Amherst (June 2016).
"Two Approaches to Beatles Research: Plumbing the Recording Process and Parsing a Text,"
      lecture presented at Duke University (November 2015) and Johns Hopkins University
      (April 2016).
Untitled two-hour faculty lecture delivered at the “Methods of Popular Music Analysis,”
       seminar, University of Osnabrück (September 2015).
"It Was Fifty Years Ago Today: The Beatles in 1964," lecture presented at Winthrop University
       (October 2014).
"Get Off My Lawn! The Challenges and Opportunities Presented by Digital Technologies to
       Today's Rock-Music Theorist." The Institute for Popular Music, The University of
       Rochester (July 2014).
"Instant Combustion: Fairly Sensational, Dramatic, Wonderful, Funny, Exciting!" Keynote address
        for the conference, "It Was Fifty Years Ago Today!: An International Beatles Celebration,"
        The Pennsylvania State University at Altoona. Lecture for the University of Rochester
        Institute for Popular Music's "In Performance Series." Lecture for the symposium,
        "Tomorrow Never Knows: The Beatles in Text and Image—Materiality and Meaning," The
        University of Pennsylvania (all February 2014). Posted at
        www.youtube.com/watch?v=M6qJEibtY9U
Roundtable Panelist on the Music of the Beatles with Allan Kozinn, Mark Lewisohn, and Ken
      Scott at the Paley Media Center, New York City (October 2013).




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Invited presentations, cont'd:
Keynote address, "Setting the Stage: The Beatles in 1963," The Society for Music Analysis,
      Liverpool, England (July 2013); revision presented at Belmont University (September
      2013).
"And Your Bird Can Sing," lecture presented at Louisiana State University (February 2013), The
      Peabody Institute (April 2016), and Texas State University (April 2018).
“The Beatles’ Recording of ‘A Day In the Life,” The Pennsylvania State University (March
      2012); revisions presented to the Fargo Public Library (November 2012), Louisiana State
      University (February 2013), the University of Western Ontario (March 2013), and for the
      "Summit of Creativity" conference, University of Michigan (June 2017).
“A Memoir: The Evolution of Beatles Research, 1971 to Date,” lecture presented at Gettysburg
     College (March 2012).
Respondent to David Temperley’s article, “Scalar Shifts in Popular Music,” Music Theory
      Online webinar (February 2012).
“Harmony and Voice Leading in Rock Music Produced After 1980,” faculty lecture delivered at
      the “Methods of Popular Music Analysis,” seminar, University of Osnabrück (September
      2011). Revised version delivered by invitation at Gettysburg College (March 2012).
"Complexity and Meaning in Post-Millennial Rock Music," invited plenary talk delivered at the
     Conference of the Arbeitskreis Studium Populärer Musik, Mannheim, Germany
     (November 2010). Revised version delivered by invitation at Indiana University (April
     2011).
"Of Harry Pa(r)tch and Other Challenges to Tonal Centricity in Early 21st-Century Rock,"
      Princeton University (April 2010).
"The Creation of 'Strawberry Fields Forever,'" Minnesota State University at Moorhead (May
      2009); repeated for Gettysburg College, The Pennsylvania State University, and Glacier
      Hills Retirement Community, Ann Arbor (all March 2012), Lycoming College
      (November 2017), and Texas State University (March 2018).
"Melodic Contour and Ornamentation in Pop-Rock Music of the 1950's and '60s," Michigan
      State University (April 2009).
"Children of Nature: Origins of the Beatles' Tabula Rasa," Skidmore College, on the occasion of
       the 40th Anniversary of the release of the Beatles' "White" Album (November 2008).
Lead presentation for plenary session, “Popular Music and the Canon,” The Society for Music
       Theory, Nashville (November 2008).
Panel presentation on Professional Development in Pop-Music Scholarship, Pop-Music Interest
       Group, Society for Music Theory, Nashville (November 2008).
"Text-Music Relations in 1960's Pop" for Daniel Harrison's Music 275 class, Yale University
      (October 2008).




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Invited presentations, cont'd:
Plenary presentation, “The State of Popular Music Scholarship Today,” Eastman School of
       Music, as part of the 2008 Mannes Institute (June 2008).
“’It Fits In Well With the Chords I’m Playing’: Melody in Pop-Rock Music of the 1950s and
         ‘60s,” University of Iowa (May 2008).
"Rocking the Arts," an address given in acceptance of the Kjell Meling Award for Distinction in
      the Arts and Humanities, The Pennsylvanis State University at Altoona (October 2007).
Keynote address: "From 'Blue Suede Shoes' to 'Suite: Judy Blue Eyes': The Foundations of Rock," Great
      Lakes Chapter, College Music Symposium, Bowling Green, Ohio (March 2007).
"Good Vibrations: The Foundations of Rock," College-Conservatory of Music, University of
      Cincinnati (May 2006).
"Painting Their Room in a Colorful Way: The Beatles' Exploration of Timbre," Music of the
        Americas Study Group, University of Michigan (February, 2006); Skidmore College
        (October, 2005); Texas A&M (February 2005); Saint Marys College, South Bend,
        Indiana (February 2003).
"Tracing the Evolution of John Lennon's 'Strawberry Fields Forever' Through Its Compositional
       Drafts," University of North Carolina at Chapel Hill (Nov. 2003).
"Deep-Level Portrayals of Directed and Misdirected Motions in Nineteenth-Century Lyric
      Song," University of North Carolina at Chapel Hill (November 2003).
Keynote address: "Making Sense of Rock's Tonal Systems," Florida State University Forum
      (March 2002); previously presented as a featured paper at the "Music Analysis and
      Popular Music" conference, University of Cardiff, Wales (Nov 2001).
"Detroit and Memphis: The Soul of Revolver," Skidmore College (September 2001).
Keynote address: "Takin' It to the Streets: Egghead Trainspotting for Everyone," Combined
      meeting of the Texas Music Theory Society and the South-Central Society for Music
      Theory, Houston (February 2001).
"The Expression of Troubling Societal Values in Postmodern Rock Music," University of Texas
      at Austin (February, 2001), University of Oregon (March 2001).
Keynote address: "The Future of Beatles Research," Beatles 2000 Conference, Jyväskylä,
      Finland (June 2000).
"Motown, Michigan and Music Theory," Music Theory Midwest, Kalamazoo (May 1996).
"Paul Simon's Crisis of Chromaticism: the Aggregate and the Spiral," College-Conservatory of
       Music, University of Cincinnati (January 1996).
"The Beatles in the Studio," College-Conservatory of Music, University of Cincinnati
      (December 1995).
"'Lucy in the Sky with Diamonds' and 'I Am The Walrus,'" College-Conservatory of Music,
       University of Cincinnati (December 1995).




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Invited presentations, cont'd:
"Musical Expression at Deep Structural Levels in Learned and Vernacular Vocal Repertoires
      (II)," Indiana University (February 1995).
"Voice Leading and Harmony in the Early Music of the Beatles," International Association for
       the Study of Popular Music, London, England (July 1992).
“Peter Westergaard’s Theory of Tonal Rhythm,” Society for Music Theory, Cincinnati
       (November 1991)
“Power in the Music of the Beatles,” Power Conference, University of Rochester (January 1989).
“Middleground Motives as Unifiers of the Theme of Illusion in Schubert’s Winterreise,”
      Eastman School of Music (January 1989).
“Text-Related Middleground Motives as a Device of Intersong Unity in Schubert’s Winterreise,"
       Cincinnati College-Conservatory of Music (May 1987).


Conference papers and other presentations:
"Lepidopteron cum strabismus: The Hidden Promise of Vanessa, the Erratic Adolescent
       Doddler," "A Powerful Force: Women in Music" conference, Ball State University
       (October 2020).
"Sex and Gender in Recent Popular Music by Women and Non-Binary Performers," EUROMAC
       10 conference, P. I. Tchaikovsky Conservatory, Moscow, Russia (Sept 2020)
"'Revolution 9': The Creation of John Lennon's Guernica," The Art of Record Production
       conference, Berklee College of Music, Boston (May 2019).
“Command and Surrender in Patti Smith’s ‘Land,” Women in the Creative Arts conference,
     Australian National University, Canberra (August 2017).
“Fair Use Considerations in Rock Scholarship,” Society for Music Theory, Vancouver
       (November 2016).
"Towards a Best Use of Graduate-Student Assistants for Grading Essays in Large-Enrollment
      Courses," Professional Development panel, Society for Music Theory, Milwaukee
      (November 2014).
"Bonner Zeit Transitions: Rhenish Things Not Put Away," University of Michigan (October
      2012).

“Reaching Beyond the Field,” Professional Development panel, Society for Music Theory,
      Minneapolis (November 2011).
"The Intercontinental Guitar Style of Jimi Hendrix," New World Coming: The Sixties and the
       Shaping of Global Consciousness conference, Queen's University, Kingston, Ontario
       (June 2007).



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Other conference presentations, cont'd:
"Beyond the Palace: Casing the Promised Land," Glory Days: A Bruce Springsteen Symposium,
      Monmouth University, NJ (September 2005).
"Sam Phillips' 'Five Colors': Which is the Way?," Pop-Music Interest Group, Society for Music
      Theory, Seattle (November 2004).
"Hand Jive and Ear Prudence," guitar lecture-demonstration presented with John Covach,
      Society for American Music, Cleveland (March 2004).
"The Values of Traditional Historiographical and Theoretical Approaches for the Study of Rock
      Music," Society for Music Theory/"Musical Intersections" megaconference, Toronto
      (November 2000).
"A Royal Scam: The Abstruse and Ironic Bop-Rock Harmony of Steely Dan," Society for Music
      Theory, Atlanta (November 1999).

"Singing About the Fundamental Line: Vocal Portrayals of Directed and Misdirected Motions,"
       Society for Music Theory, Phoenix (October 1997).

"David Brackett, Wilson Pickett, Nirvana and Lucifer," Re*pre*sent*ing Rock conference, Duke
       University (April 1997).

"Any Time at All: The Beatles' Free Phrase Rhythms," Society for Music Theory, Baton Rouge
      (November, 1996) and Music Theory Midwest, Kalamazoo (May 1996).

"The Learned vs. The Vernacular in the Songs of Billy Joel: 'James' vs. 'Laura'," Conference on
      Cross (Over) Relations, Eastman School of Music (September 1996).

"Adjunctive Tonal Structures and the Dissociative Condition in the Music of the Beatles,"
      Society for Music Theory, Tallahassee (November 1994).

"Musical Expression at Deep Structural Levels in Learned and Vernacular Vocal Repertoires
      (I)," Inaugural meeting of the Society for Music Analysis, jointly with the Royal Musical
      Association, Southampton (March 1993).

"Voice Leading and Harmony in the Early Music of the Beatles," Society for Music Theory,
       Kansas City (October 1992).

"Chromatic Structures in Paul Simon's Still Crazy After All These Years," Society for Music
      Theory, Cincinnati (November 1991).

"The Beatles as Composers: The Genesis of Abbey Road, Side Two," City University Music
      Analysis Conference, London (September 1991).

"Text-Painting in Mozart’s Three Lieder (KV 596-598) of 14 January 1791,” Mozart-Kongress,
       Salzburg (February 1991).



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Other conference presentations, cont'd:

"Harmonic Function and Ambiguity in the Music of the San Francisco Counterculture," Society
      for Music Theory/American Musicological Society/Society of Ethnomusicology,
      Oakland (November 1990).
“Voice Leading, Register and Self-Discipline in Die Zauberflöte.” Society for Music Theory,
       Oakland (November 1990) and Music Theory Society of New York State, Rochester
       (October 1990) .
"Ambiguity of Directed Harmonic Motion in Rock Music of the 1960s," International
      Association for the Study of Popular Music, New Orleans (May 1990).
"Text-Related Middleground Motives as a Device of Intersong Unity in Schubert's Winterreise,"
       Society for Music Theory/American Musicological Society, Austin (October 1989).
"Analytical Considerations in 'Underground' Rock Music of the Late 1960's," Inaugural meeting
       of Music Theory Midwest, Northwestern University (May 1990).
“Schenker's Duck-Rabbit: Seeking a Clearer Understanding of the 5-6 Exchange," Music
      Theory Society of New York State, New York (September 1989).
“Middleground Motives as Unifiers of the Theme of Illusion in Schubert’s Winterreise.”
      Symposium of Research in Music Theory, Indiana University (April 1988).
“Middleground-Level Text-Painting in Two Examples from Schubert’s Winterreise,” Great
      Lakes Chapter of College Music Society, Northwestern University (April 1986).
"Text-Painting in the Foreground and Middleground of Paul McCartney's Beatle Song, 'She's
       Leaving Home': A Musical Study of Psychological Conflict," Indiana University (1986),
       and Midwest College Music Society, Kansas City (1985).
Additionally, presentations to the Michigan Theory Department Colloquium in October '18,
       October ’16, June '13, Oct '12, Apr ’10, Nov ’10, Mar '99, and to the Michigan Music
       Theory Society in Mar '93, Fall '92, Wtr '92, Jan '91, Nov '90, Oct '89, Sept '89, '82, '81.

Awards:
School of Music, Theatre and Dance Grant for engraving of music examples for publication,
       "Becoming Beethoven: Theorizing Bonner Zeit Transitiions ($750).
Grants from the University of Michigan Office of Research, University of Michigan Arts Engine
       and University of Michigan School of Music, Theatre and Dance, to support the
       symposium, “Summit of Creativity: A Celebration of the Fiftieth Anniversary of The
       Beatles’ Sgt. Pepper’s Lonely Hearts Club Band," at the University of Michigan in June
       2017 ($20,000 combined).
Fellowship at the Rock and Roll Hall of Fame Archives, Cleveland, Ohio, for a week’s residency
       studying documents related to Patti Smith, July 2016 ($2,000).
Faculty Research Fund Block Grant for research on Beatles book for Oxford, 2014 ($650).



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Awards, cont'd:
Horace H. Rackham Spring / Summer research Grant, a partnership with supporting Ph.D.
      student for preliminary research for book in rock music, 2011 ($6,000).
Faculty Research Fund Block Grant for travel in Germany (library work on Neefe, Luchesi and
       Sterkel at Beethoven Archiv, Bonn), 2010 ($1,423).
Society for Music Theory Publication Subvention for performance of audio examples for The
       Foundations of Rock, 2008 ($633).
Faculty Research Fund grant, School of Music, for performance of audio examples for The
       Foundations of Rock, 2007 ($1,500).
Kjell Meling Award for Distinction in the Arts and Humanities, 2007 ($1,000).
National Endowment for the Humanities Fellowship, 2003-2004 ($40,000 towards release time
       for academic-year research).
Horace H. Rackham Faculty Fellowship Enhancement Award, 2003 ($3,000).
Faculty Career Development Award, 2001 ($5,000).
Office of the Vice-President for Research, Preliminary Grant for book, The Beatles as Musicians,
       1993 ($5,722).
Faculty Research Fund grant, School of Music, for materials for above, 1993 ($1,948), 2001
       ($3,500).
Faculty Research Fund grant, School of Music, for computer input for above, 1995 ($2,040).
Faculty Research Fund grant, School of Music, for copyright permission fees for above, 1996
       ($1,200).
Faculty Research Fund grant, School of Music, for music calligraphy for above, 1994 ($200).
Horace H. Rackham Faculty Fellowship for book chapter, "The Beatles as Composers: The
      Genesis of Abbey Road," 1991 ($7,000).
Commission as consultant for David Appleby's book on Villa-Lobos for Greenwood Press, 1988
     ($500).

Additional Professional Activities:
Subject of hour-long interview by Allan Kozinn, Steve Marinucci and Ken Michaels on podcast,
"Things We Said Today" (26 February 2018): http://beatlesexaminer.podbean.com, show #264.

Subject of 45-minute interview by Vincent Benitez for the eLearning Institute, Pennsylvania
State University at https://www.youtube.com/watch?v=WZgdYH648dU

Subject of interview for “The Compulsive Reader” at
http://www.compulsivereader.com/2008/05/04/excitements-and-examinations-an-
internet-interview-with-music-scholar-walter-everett/




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Additional Professional Activities, cont'd:

Pre-concert and pre-film talks at the Michigan Theater, April and September 2016, April 2017,
       April 2018, May 2019.
Subject of video documentary, "Celestial Bonfire: The Art of the Beatles," directed by Jim
       White, premiered on GRTV, Grand Rapids, 10 October 2003.
Subject of numerous international print and online newspaper features NPR’s Morning Edition and other
       radio and television interviews.
Program committee member for "Come Together: Fifty Years of Abbey Road, conference hosted by the
       University of Rochester Institute for Popular Music, September 2019.
Organizer of conference, "Summit of Creativity: Celebrating the 50th Anniversary of the Beatles' Sgt.
       Pepper's Lonely Hearts Club Band," The University of Michigan, June 2017.
Faculty Member, Gary Karpinsky's week-long Workshop in Music Theory Pedagogy, University of
       Massachusetts, Amherst, June 2016.
Faculty Member, 2nd International Postgraduate Summer School, “Methods of Popular Music
       Analysis,” University of Osnabrück, Germany, September 2015.
Inaugural member, Editorial Board for journal, Rock Music Studies (Taylor & Francis), 2013—.
Member, Advisory Board, University of Rochester Institute for Popular Music, 2012—.
Leader, Graduate Student Workshop, “Harmony and Voice Leading in Rock and Pop Music,” meeting of
       the Society for Music Theory, New Orleans, November 2012.
Chair, conference session, "Sgt. Pepper's Lonely Hearts Club Band: Historical Context, Cultural
        Interpretations, and Musical Legacy," Joint session for the American Musicological
        Society, the Society for Ethnomusicology, and the Society for Music Theory, New
        Orleans, November 2012.
Technical coordinator, Ann Arbor meeting of Music Theory Midwest, May 2012.
Faculty Member, International Postgraduate Summer School, “Methods of Popular Music Analysis,”
       University of Osnabrück, Germany, September 2011.
Chair, Publications Committee of the Society for Music Theory, 2010-2013.
Member, SMT Publications Subvention Awards Committee, 2011-2013.
Member, SMT Networking Committee, 2010-2013.
Member, SMT Popular Music Interest Group Program Committee, 2010-2011.
Co-Chair and faculty member, Mannes Institute on Jazz Meets Pop, June 2008.
Leader, Graduate Student Workshop, “The Tonal Systems of Rock,” for fourteen graduate
       students visiting from Vancouver, Seattle, Los Angeles, Montréal, Toronto, Cincinnati,
       and elsewhere, in Ann Arbor, 8 February 2008.
Fellow, Mannes Institute on Chromaticism, June 2006.




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Additional Professional Activities, cont'd:
Chair, Society for Music Theory Program Committee, 2002-2003 (for Madison meeting);
        Member, SMT Program Committee, 2001-2002 (for Columbus meeting).
Participant, Advanced Placement Colloquium with College Board, Chicago; April 2008.
Grader for Graduate Record Examinations in Music Theory, administered by the Educational
       Testing Service. Participated in exam readings in Princeton, Dec '99, Jan '97, Jan '96,
       Nov '95, Jan '95, Nov '94, Mar '94, Nov '93, Mar 93, Nov 91. Assistant Chief Reader,
       Jan '99.
Credited consultant for museum exhibits, Experience Music Project, Seattle, April-May 2000.
Member, Society for Music Theory Columbus Program Committee, 2001-2002; Chair, Society
     for Music Theory Madison Program Committee, 2002-2003
Member, Pop-analysis group of SMT-Philadelphia Program Committee, 2000-2001
Chair, Society for Music Theory Nominations Committee, 1994-95 (committee member, 1993-
        95; member of Society for Music Theory since 1980).
Archival work and interviews in Liverpool, March 1993 and July 2013.
Music Theory Society of New York State Publications Committee member, 1991-96 (member of
      the Society since 1986).
Theory & Practice subscriptions manager, 1990-95.
Chair, Music Theory Midwest Nominations Committee, 1996-97 (committee member, 1994-97;
       member of the Society since 1990).
Chair, conference session, "Topics in World and Popular Musics," Music Theory Midwest,
        Butler University (May 1999).
Chair, conference session, "Schenkerian Analysis," Music Theory Midwest, Indiana University
        (May 1994).
Chair, first session devoted to "Music and Popular Culture" in the joint meeting of the American
        Musicological Society and the Society for Music Theory, Montréal (Oct 1993).
Music Theory Society of New York State Program Committee, 1991-92.
Music Theory Society of New York State Executive Board, 1990-91.
Chair, conference session, "Analogies and Systems for Understanding Music," CMS/Great Lakes
        Chapter, Ann Arbor (Mar 1987).




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